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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                         Civil No. 19-CV-00075 NEB-JFD

CRAIG L. BREWSTER, JEAN M. BREWSTER,

                    Plaintiffs,                       MEET AND CONFER
                                                      STATEMENT
       v.

UNITED STATES OF AMERICA,

                    Defendant.

      Pursuant to Local Rule 7.1(a), undersigned counsel states that he has met and

conferred with Plaintiffs’ Counsel regarding Defendant’s Motion to Dismiss and for

Summary Judgment. After meeting and conferring, the parties do not agree on the

resolution of any portion of the Motion to Dismiss and for Summary Judgment.

Dated: February 18, 2022                      CHARLES J. KOVATS, Jr.
                                              Acting United States Attorney

                                              /s/ Adam J. Hoskins

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